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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11    REGINALD A. GARY,                           )    Case No. CV 18-9545-PA (JEM)
                                                  )
12                        Plaintiff,              )
                                                  )    ORDER ACCEPTING FINDINGS AND
13                 v.                             )    RECOMMENDATIONS OF UNITED
                                                  )    STATES MAGISTRATE JUDGE
14    LOS ANGELES COUNTY SHERIFF JIM              )
      MCDONNELL, et al.,                          )
15                                                )
                          Defendants.             )
16                                                )
17          Pursuant to 28 U.S.C. Section 636, the Court has reviewed the pleadings, the
18    records on file, and the Report and Recommendation of the United States Magistrate
19    Judge. Plaintiff has filed Objections, and Defendants have filed a Reply to the Objections.
20    The Court has conducted a de novo review of those portions of the Report and
21    Recommendation to which Plaintiff has objected. The Objections are overruled, and the
22    Court accepts the findings and recommendations of the Magistrate Judge.
23          IT IS ORDERED that: (1) Defendants’ Motions to Dismiss are GRANTED; and (2)
24    Judgment shall be entered dismissing the action without leave to amend.
25

26    DATED: October 28, 2021
                                                            PERCY ANDERSON
27                                                    UNITED STATES DISTRICT JUDGE
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